 Case 1:18-cv-01429-PLM-RSK ECF No. 23 filed 01/09/19 PageID.229 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 GUN OWNERS OF AMERICA, INC., et al.,

        Plaintiffs,
                                                       Case No. 1:18-cv-1429
 v.
                                                       HONORABLE PAUL L. MALONEY
 MATTHEW WHITAKER, et al.,

        Defendants.
 ____________________________/


             ORDER ESTABLISHING BRIEFING SCHEDULE RELATED TO
                       MOTION FOR PRELIMINARY INJUNCTION


       Pending before the Court is a stipulation between the parties to expedite the briefing

schedule related to Plaintiffs' Motion for Preliminary Injunction (ECF No. 22). Upon due

consideration of the stipulation, the Court establishes the following briefing schedule:

       1.    The deadline for the Government defendants to respond to the Motion for Preliminary
            Injunction is February 11, 2019.

       2. The deadline for the Plaintiffs to file a reply in support of their motion is February 25,
          2019.

       3. Oral argument on the motion is scheduled for March 11, 2019, at 1:00 p.m., at 174
          Federal Building, Kalamazoo, Michigan.

       IT IS SO ORDERED.

Dated: January 9, 2019                                       /s/ Paul L. Maloney
                                                             Paul L. Maloney
                                                             United States District Judge
